A O 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase



                                                                United States District Court
                                                         For The Western District of North Carolina

UNITED STATES OF AMERICA                                                               JUDGMENT IN A CRIMINAL CASE
                                                                               (For Offenses Committed On or After November 1, 1987)
         V.
                                                                               Case Number: DNCW 311CR000190-006
Darryl Keith Brock
                                                                               USM Number: 26344-058
                                                                               Charles Linwood Morgan, Jr.
                                                                               Defendant’s Attorney

THE DEFENDANT:

X        Pleaded guilty to count(s) 1.
         Pleaded nolo contendere to count(s) which was accepted by the court.
         W as found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                               Date Offense
 Title and Section                     Nature of Offense                                       Concluded                     Counts

 18: 2314 and 371                      Conspiracy to Commit Interstate Transport of Stolen     3/2011                        1
                                       Property



      The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

         The defendant has been found not guilty on count(s) .
         Count(s) (is)(are) dismissed on the motion of the United States.

       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay monetary penalties, the defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.

                                                                                     Date of Imposition of Sentence: 10/30/2012




                                                                                     Date:         November 13, 2012




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                                                                   IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of TWENTY
(20) MONTHS..




X        The Court makes the following recommendations to the Bureau of Prisons:

         - Participate in any educational and vocational opportunities.

         The Defendant is remanded to the custody of the United States Marshal.

         The Defendant shall surrender to the United States Marshal for this District:

                            As notified by the United States Marshal.

                             At___a.m. / p.m. on ___.

X        The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

               X            as notified by the United States Marshal.

                             Before 2 p.m. on ___.

                            As notified by the Probation Office.

                                                                        RETURN

         I have executed this Judgment as follows:




      Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgment.




___________________________________________
         United States Marshal


                                                                                  By: _______________________________________
                                                                                                Deputy Marshal




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                                                                        SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of TW O (2) YEARS..

         The condition for mandatory drug testing is suspended based on the court’s determination that the defendant poses a low risk of
         future substance abuse.

                                                           STANDARD CONDITIONS OF SUPERVISION

         The defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.       The defendant shall not com m it another federal, state, or local crim e.
2.       The defendant shall refrain from possessing a firearm , destructive device, or other dangerous weapon.
3.       The defendant shall pay any financial obligation im posed by this judgm ent rem aining unpaid as of the com m encem ent of the sentence of probation or the term of
         supervised release on a schedule to be established by the C ourt.
4.       The defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.       The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.       The defendant shall not leave the W estern D istrict of North C arolina without the perm ission of the C ourt or probation officer.
7.       The defendant shall report to the probation officer in a m anner and frequency directed by the court or probation officer.
8.       A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release from
         custody of the Bureau of Prisons.
 9.      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.      The defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by the
         probation officer.
12.      The defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.      The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister any narcotic or other controlled
         substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.      The defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the probation officer, until such tim e as the
         defendant is released from the program by the probation officer; provided, however, that defendant shall subm it to a drug test within 15 days of release on
         probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions of 18:3563(a)(5) or
         18:3583(d), respectively; The defendant shall refrain from obstructing or attem pting to obstruct or tam per, in any fashion, with the efficiency and accuracy of any
         prohibited substance testing or m onitoring which is (are) required as a condition of supervision.
15.      The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.      The defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted of a felony unless granted
         perm ission to do so by the probation officer.
17.      The defendant shall subm it his person, residence, office, vehicle and/or any com puter system including com puter data storage m edia, or any electronic device
         capable of storing, retrieving, and/or accessing data to which they have access or control, to a search, from tim e to tim e, conducted by any U .S. Probation Officer
         and such other law enforcem ent personnel as the probation officer m ay deem advisable, without a warrant. The defendant shall warn other residents or occupants
         that such prem ises or vehicle m ay be subject to searches pursuant to this condition.
18.      The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of any contraband observed by the
         probation officer.
19.      The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent officer.
20.      The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency without the perm ission of the C ourt.
21.      As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the defendant’s crim inal record or personal history or
         characteristics, and shall perm it the probation officer to m ake such notifications and to confirm the defendant’s com pliance with such notification requirem ent.
22.      If the instant offense was com m itted on or after 4/24/96, the defendant shall notify the probation officer of any m aterial changes in defendant’s econom ic
         circum stances which m ay affect the defendant’s ability to pay any m onetary penalty.
23.      If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of the electronic m onitoring or
         other location verification system program based upon your ability to pay as determ ined by the probation officer.
24.      The defendant shall cooperate in the collection of DN A as directed by the probation officer.
25.      The defendant shall participate in transitional support services under the guidance and supervision of the U.S. Probation Officer. The defendant shall rem ain in the
         services until satisfactorily discharged by the service provider and/or with the approval of the U .S. Probation O fficer.


ADDITIONAL CONDITIONS:




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                                                                CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


                  ASSESSMENT                                                 FINE                                 RESTITUTION

                       $100.00                                               $0.00                                $2,128,059.00



               The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case (AO 245C) will be entered
               after such determination.

                                                                                FINE


         The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before
the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule of Payments may
be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X              The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

X              The interest requirement is waived.

               The interest requirement is modified as follows:


                                                                COURT APPOINTED COUNSEL FEES

               The defendant shall pay court appointed counsel fees.

               The defendant shall pay $                        Towards court appointed fees.




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                                                                RESTITUTION PAYEES

The defendant shall make restitution to the following payees in the amounts listed below:


 NAME OF PAYEE                                                         AMOUNT OF RESTITUTION ORDERED
 CVS Pharmacy                                                          $956,300.00

 W algreen Company                                                     $1,171,759.00

X        Joint and Several

               X            Defendant and Co-Defendant Names and Case Numbers (including defendant number) if appropriate:

                            Bonnie Bridges, 3:11cr190-01

                            Kimberly Morris, 3:11cr190-2

                            Michael Morris, 3:11cr190-3

                            Darlene Schoener, 3:11cr190-4

                            W illiam Schoener, 3:11cr190-5


               X            Court gives notice that this case may involve other defendants who may be held jointly and severally liable for
                            payment of all or part of the restitution ordered here in and may order such payment in the future.

               X            The victims’ recovery is limited to the amount of their loss and the defendant’s liability for restitution ceases if and
                            when the victim(s) receive full restitution.

               X            Any payment not in full shall be divided proportionately among victims.

                        It is noted that Bonnie Knight Bridges, Kimberley Morris, Michael Morris, Darlene Schoener, and William Schoener
are jointly and severally liable for the restitution amount due to the Internal Revenue Service, and all the defendants are jointly and
severally liable for the restitution amount due to CVS Pharmacy and Walgreen Company, as well as any other victims that may
subsequently determined related to the conduct detailed in Count One of the Bill of Indictment.




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                                                                  SCHEDULE OF PAYMENTS


Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

         A                  Lump sum payment of $                   Due immediately, balance due

                            Not later than                , or
                            In accordance              (C),      (D) below; or

         B     X            Payment to begin immediately (may be combined with            (C),      (D) below); or

         C                  Payment in equal              (E.g. weekly, monthly, quarterly) installments of $            To commence
                            (E.g. 30 or 60 days) after the date of this judgment; or

         D                  Payment in equal              (E.g. weekly, monthly, quarterly) installments of $        To commence
                            (E.g. 30 or 60 days) after release from imprisonment to a term of supervision. In the event the entire amount of
                            criminal monetary penalties imposed is not paid prior to the commencement of supervision, the U.S. Probation
                            Officer shall pursue collection of the amount due, and may request the court to establish or modify a payment
                            schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the payment of criminal monetary penalties:

         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court costs:
X        The defendant shall forfeit the defendant’s interest in the following property to the United States:

         1999 Chevrolet Venture Van, VIN 1GNDX03E7XD341765


Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments are to be
made to the United States District Court Clerk, 401 West Trade Street, Room 210, Charlotte, NC 28202, except those payments made
through the Bureau of Prisons’ Inmate Financial Responsibility Program. All criminal monetary penalty payments are to be made as
directed by the court.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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                                                                STATEMENT OF ACKNOWLEDGMENT

I understand that my term of supervision is for a period of _______months, commencing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term
of supervision, and/or (3) modify the conditions of supervision.

I understand that revocation of probation and supervised release is mandatory for possession of a controlled substance, possession of a
firearm and/or refusal to comply with drug testing.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.




(Signed)        ____________________________________ Date: _________________
                 Defendant

(Signed)        ____________________________________ Date: _________________
                 U.S. Probation Office/Designated W itness




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